           Case 22-33553 Document 788 Filed in TXSB on 07/26/24 Page 1 of 3




                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                  §
In re:                                            § Chapter 7
                                                  §
ALEX JONES,                                       § Case No. 22-33553 (CML)
                                                  §
                Debtor.                           §
                                                  §
                                                  §

      CERTIFICATE OF NO OBJECTION WITH RESPECT TO TRUSTEE’S
 APPLICATION TO EMPLOY JONES MURRAY LLP AS GENERAL BANKRUPTCY
              CO-COUNSEL FOR THE CHAPTER 7 TRUSTEE
                       [Relates to Docket No. 755]

         1.     On July 3, 2024, Christopher R. Murray, the Chapter 7 Trustee (the “Trustee”) for

the bankruptcy estate of Alexander E. Jones, filed the Application to Employ Jones Murray LLP

as General Bankruptcy Co-Counsel for the Chapter 7 Trustee [Docket No. 755] (the

“Application”).

         2.     The deadline for receipt of responses (the “Response Deadline”) to the Application

has passed.

         3.     The undersigned represents to the Court that the Trustee is unaware of any objection

or response to the Application appearing on the Court’s docket, that counsel to the Trustee has

reviewed the docket, and no party has filed an objection or response to the relief sought in the

Application.

         4.     Attached hereto is the proposed Order Authorizing Employment of Jones Murray

LLP as General Bankruptcy Co-Counsel for the Chapter 7 Trustee (the “Proposed Order”).

         5.     The Trustee respectfully requests that the Court enter the Proposed Order.




15485126
           Case 22-33553 Document 788 Filed in TXSB on 07/26/24 Page 2 of 3




Dated: July 26, 2024.
       Houston, Texas                         PORTER HEDGES LLP

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                                              Murray, Chapter 7 Trustee

                                              and

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                                              Proposed Co-Counsel for Christopher R.
                                              Murray, Chapter 7 Trustee




                                          2
15485126
           Case 22-33553 Document 788 Filed in TXSB on 07/26/24 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I certify that on July 26, 2024, I caused a copy of the foregoing document to be served by

the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District

of Texas on all parties receiving electronic service in this bankruptcy case.

                                                      /s/ Joshua W. Wolfshohl
                                                      Joshua W. Wolfshohl




                                                 3
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